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                 Exhibit B
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From:                            Goldfarb, Andrew
Sent:                            Sunday, March 30, 2025 7:55 PM
To:                              Hudak, Brian (USADC); sam.escher@usdoj.gov; joseph.carilli@usdoj.gov
Cc:                              Jernigan, Ben
Subject:                         USIP v. Jackson


Counsel -- Good evening. Today, we became aware of the attached document, described as a board resolution
signed by two ex officio board members directing, inter alia, the transfer of USIP assets to GSA. Were defendants
to act with respect to USIP property while the parties are brieﬁng summary judgment on the expedited schedule
entered by the Court, it would have the prospect to substantially impair the Court’s ability to provide meaningful
relief should she ﬁnd for plaintiffs. Please conﬁrm by 9am tomorrow (Monday) that defendants will not transfer
USIP property, including USIP’s privately owned building, pending resolution of the matter before the district court.
If we don’t hear back, we intend to ﬁle a motion seeking a status conference and relief under the All Writs Act.

Thank you,
Andrew




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                                      Andrew N. Goldfarb
                                      Zuckerman Spaeder LLP
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